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  Message

  From:          Katherine Wood (formerly Ely) [katherinee@google.com]
  Sent:          8/13/2020 4:23:53 PM
  To:            Jamie Rosenberg [jamiero@google.com]


  •       Katherine Wood (formerly Ely), 2020-os-13 o9:23: 53
  morning. Lorraine added a mtg. to your calendar at 11 :30am - BlueChip + Android Share. It&#39;s over the last
  halfofAndroid Auto Monthly. Can you step our ofAuto?
  •       Katherine Wood (formerly Ely), 2020-os-u 09:23:58
  out
  •         Jamie Rosenberg, 2020-os-13 09:25: 17
  hi, I saw that... am thinking about which one to prioritize. 1&#39;m not essential in the Lorraine mtg, but I also
  can probably step out halfuray through the Auto mtg
  •         Katherine Wood (formerly Ely), 2020-os-13 09:25: 37
  ok
  •      Jamie Rosenberg, 2020-os-13 09:27:37
  BTW, I ran out of time with Christian Stainger in our 8:30 meeting. Would you be able to set up additional time
  for me with him next week? He&#39;s in Germany, FYI. LMK ifyou need his contact info. Thx
  •      Katherine Wood (formerly Ely), 2020-os-13 o9:27: 59
  ok, will work to get more time
  •         Jamie Rosenberg, 2020-os-u 09:30:33
  thank you
  •      Katherine Wood (formerly Ely), 2020-os-u 09:32:07
  the Gleads prep mtgs. can happen this Friday... but not back to back. one at 9am, the other at 11:30am. Are you
  ok with that?
  •      Jamie Rosenberg, 2020-os-13 09:32:57
  yes, that&#39;s fine... ifwe have flexibility on sequencing it would be great ifAndroid Share can be first... but
  we can work with any sequencing
  •       Katherine Wood (formerly Ely), 2020-os-13 09: 33: 14
  ok
  •      Jamie Rosenberg, 2020-os-13 10:29: 21
  FYI, I will drop out of the Auto mtg at 11:30 and join the Lorraine update
  •      Katherine Wood (formerly Ely), 2020-08-13 10: 29: 33
  ok
  •       Jamie Rosenberg, 2020-os-13 10:30:05
  Also, note that l&#39;ve blocked my calendar from ~3 p.m. on tomorrow ... trying to get out for a few holes of
  golfifl can keep that protected. : ) Would you be able to move my 1: 1 with Samer to earlier in the day and/or
  early next week? Thanks
  •       Jamie Rosenberg, 2020-os-13 10: 30: 26
  Note that &quot;Samer&quot; is a different person from &quot;Sameer&quot; : )



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  •      Kathel'ine Wood (fo1·merly Ely), 2020-os-13 10:30:53
  good to note they are different, thank you
  •      Katherine Wood (fo1·merly Ely), 2020-os-13 10:31:17
  1&#39;11 protect that time. My husband is the same way, any chance to play golf He&#39;s playing Baylands
  tomorrow afternoon.
  •     Jamie Rosenberg, 2020-08-13 10:32:09
  I&#39;m going to play Shoreline -- as many holes as I can get in with a 4 p.m. tee time.
  •     Katherine Wood (formerly Ely), 2020-os-13 10:32:25
  sounds like fun!
  •      Jamie Rosenberg, 2020-os-13 10:32:47
  One more thing: There&#39;s an external exec meeting with Facebook happening next week. Hiroshi would
  like me to join. Can you please coordinate with Tracey to get it on my calendar? Thanks
  •      Katherine Wood (formerly Ely), 2020-os-13 10:32:55
  you bet
  •       Jamie Rosenberg, 2020-os-13 12: 10:30
  Hi, I just noticed something. Our &quot;SODA project review&quot; hour from 1-2 is meant to be a
  placeholder on the leads&#39; calendars, and then we schedule in topics. It looks like the only topic is Tablets
  from 1 :30 -2, so I think we can open up the 1-1:30 slot for everyone. Would you mean just shortening the
  &quot;SODA project review&quot; calendar item to 1 :30 - 2 p.m. for today only? Thanks
  •      Katherine Wood (formerly Ely), 2020-os-u 12: 10: 51
  sg
  •       Jamie Rosenberg, 2020-os-13 12: 29:40
  one more thing (and hopefully this is all for today)... could you please add another 30 min for me with Anna for
  5 p.m. today? Thx
  •       Katherine Wood (formerly Ely), 2020-os-13 12: 36: 04
  yes




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